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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

                                   7
                                           JOHN F. LUNDY,
                                   8                                                        Case No. 15-cv-05676-JST
                                                        Plaintiff,
                                   9                                                        ORDER MODIFYING ORDER TO FILE
                                                  v.                                        STIPULATION OF DISMISSAL;
                                  10                                                        SCHEDULING ORDER
                                           SELENE FINANCE, LP, et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14            In response to a notice of settlement filed by the Plaintiff, ECF No. 102, the Court ordered

                                  15   Plaintiff to file a notice of dismissal, or take other action, by September 5, 2016. ECF No. 103.

                                  16   Plaintiff subsequently clarified that his notice of settlement related only to defendant Bank of

                                  17   America, N.A. ECF No. 105. The Court amends its prior order to specify that a notice of

                                  18   dismissal or other document as set forth in ECF No. 103 need only be filed as to Bank of America.

                                  19   The Court also rescinds that portion of its prior order vacating all deadlines.

                                  20            The Court previously scheduled a case management conference on July 27, 2016, which is

                                  21   hereby vacated. The Court sets the following case deadlines pursuant to Federal Rule of Civil

                                  22   Procedure 16 and Civil Local Rule 16-10:

                                  23
                                                                           Event                                         Deadline
                                  24
                                              Deadline to amend the complaint1                                    August 1, 2016
                                  25

                                  26
                                  27   1
                                         At the parties’ request, the Court previously extended the deadline for filing of an amended
                                  28   complaint until July 25, 2016. Because the Court’s prior order may have created some confusion,
                                       the Court has added one week to this deadline.
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                                   1                                        Event                                       Deadline

                                   2         Deadline to amend the answer                                        January 3, 2017
                                   3         Fact discovery cut-off                                              January 20, 2017
                                   4
                                             Expert disclosures                                                  February 10, 2017
                                   5
                                             Expert rebuttal                                                     March 3, 2017
                                   6
                                             Expert discovery cut-off                                            March 17, 2017
                                   7

                                   8         Deadline to file dispositive motions                                April 7, 2017

                                   9         Pretrial conference statement due                                   June 20, 2017

                                  10                                                                             June 30, 2017 at 2:00
                                             Pretrial conference
                                                                                                                 p.m.
                                  11
                                                                                                                 July 24, 2017 at 8:30
                                  12         Trial
Northern District of California




                                                                                                                 a.m.
 United States District Court




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                                             Estimate of trial length (in days)                                  Five
                                  14
                                               This case will be tried to a jury.
                                  15
                                               Counsel may not modify these dates without leave of court. The parties shall comply with
                                  16
                                       the Court’s standing orders, which are available at cand.uscourts.gov/jstorders.
                                  17
                                               The parties must take all necessary steps to conduct discovery, compel discovery, hire
                                  18
                                       counsel, retain experts, and manage their calendars so that they can complete discovery in a timely
                                  19
                                       manner and appear at trial on the noticed and scheduled dates. All counsel must arrange their
                                  20
                                       calendars to accommodate these dates, or arrange to substitute or associate in counsel who can.
                                  21
                                               Trial dates set by this Court should be regarded as firm. Requests for continuance are
                                  22
                                       disfavored. The Court will not consider any event subsequently scheduled by a party, party-
                                  23
                                       controlled witness, expert or attorney that conflicts with the above trial date as good cause to grant
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                                          Case 3:15-cv-05676-JST Document 106 Filed 07/25/16 Page 3 of 3




                                   1   a continuance. The Court will not consider the pendency of settlement discussions as good cause

                                   2   to grant a continuance.

                                   3          IT IS SO ORDERED.

                                   4   Dated: July 25, 2016

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                                                                                     _______________________________________
                                   6                                                                JON S. TIGAR
                                                                                              United States District Judge
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                                  12
Northern District of California
 United States District Court




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